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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                       CIVIL MINUTES – GENERAL

 Case No.     LA CV21-06505 JAK (SPx)                                            Date        June 24, 2022
 Title        George Jones v. Jeaman Kim, et al.




 Present: The Honorable            JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                T. Jackson-Terrell                                            Not Reported
                   Deputy Clerk                                       Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                     Not Present                                               Not Present


 Proceedings:             (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                          OF PROSECUTION AS TO JEAMAN KIM; KYONG KIM; AND FROGS
                          ORGANIC BAKERY, INC.

The Court, on its own motion, orders Plaintiff to show cause in writing no later than July 1, 2022 why
this action should not be dismissed for lack of prosecution regarding overdue responses as Jeaman
Kim, Kyong Hwa Kim, and Frogs Organic Bakery Inc.. Pursuant to Rule 55 of the Federal Rules of
Civil Procedure, Plaintiff shall file an application requesting the entry of default. Plaintiff is advised that
the Court will consider the filing of an application, which complies with the federal rules, on or before
the date upon which the response is due, as a satisfactory response to the Order to Show Cause. The
Order to Show Cause will stand submitted upon the filing of an appropriate response. No oral argument
will be heard unless otherwise ordered by the Court. Failure to respond will result in the dismissal of
this matter.

IT IS SO ORDERED.




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                                                              Initials of Preparer      TJ




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